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             BANKRUPTCY

             Bankruptcy Judge Jones Named in a
             Lawsuit Over Romantic Relationship
             With Local Lawyer
             A Houston judge confirms relationship with a lawyer whose former
             firm, Jackson Walker, brought major corporate reorganizations to his
             court

             By Alexander Gladstone and Andrew Scurria
             Updated Oct. 7, 2023 7:57 pm ET I WSJ PRO




             The bankruptcy court in Houston has been a top venue in recent years for companies to restructure
             their balance sheets. PHOTO: CALLAGHAN O'HARE/BLOOMBERG NEWS



             A Texas bankruptcy judge has been in a romantic relationship with a lawyer
             whose former firm brought major chapter 11 cases to his court, a premier landing
             spot for corporate reorganizations.

             Judge David R. Jones, who has overseen some of the nation's largest chapter 11
             cases in the U.S. Bankruptcy Court in Houston, told The Wall Street Journal he is
             in a relationship and has shared a home for years with bankruptcy lawyer
             Elizabeth Freeman.
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             Freeman worked at Texas law firm Jackson Walker's bankruptcy practice group
             until December 2022, when she left to start her own law firm. Jackson Walker, a
             leading Texas bankruptcy firm, filed chapter 11 cases that were assigned to Judge
             Jones while she was still a partner there.

             The relationship between the judge and the lawyer surfaced publicly earlier this
             week when an individual plaintiff sued Judge Jones over rulings that he made
             while presiding over the 2020 bankruptcy case of offshore-drilling company
             McDermott International. The law firm Kirkland & Ellis represented McDermott
             with Jackson Walker as local counsel.

             The plaintiff, Michael Van Deelen, was a shareholder in McDermott and has
             unsuccessfully pursued a variety of claims against the company, its advisers and
             the judge in bankruptcy court. In his lawsuit, Van Deelen alleged that Jones and
             Freeman's romantic relationship amounted to a conflict of interest and tainted
             his rulings in the McDermott case.

             The judge confirmed the relationship in an interview with the Journal and said
             that he and Freeman agreed years ago that she herself would never appear in his
             courtroom.

             Jones said he believes the relationship didn't need to be disclosed because he
             and Freeman aren't married and there was no economic benefit to him from her
             legal work.

             "I came to the conclusion that I had no duty to disclose," said the judge, who
             joined the Houston court in 2011. He added that he didn't want to fuel a
             perception that "if you were going to be appearing, you should go out and hire
             Jackson Walker."

             Jackson Walker files bankruptcy cases on its own, but is better known as local
             counsel working alongside large bankruptcy firms that have made the Houston
             bankruptcy court a top venue in recent years. Jackson Walker, on its website,
             said it has been local counsel for more sizable companies in chapter 11 than any
             other firm since 2022 and often serves as co-counsel alongside Kirkland & Ellis,
             which is among the nation's most prolific filers oflarge corporate bankruptcies.




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             Jackson Walker declined to comment. Representatives for Kirkland & Ellis didn't
             respond to a request for comment.

             A representative with the Judicial Council of the Fifth Circuit, which is
             responsible for reviewing complaints of judicial misconduct in Texas courts,
             didn't respond to a request for comment.

             Jones hasn't formally responded to Van Deelen's claims in court and declined to
             comment on the merits of the lawsuit. He also said he was under no obligation to
             recuse himself from cases involving Jackson Walker or Freeman's new solo firm,
             the Law Office of Liz Freeman.

             "If for any reason I thought that I should have done something more, I would
             have done it," the judge said. "I'm certainly not afraid of my relationship, I just
             simply think I'm entitled to a certain degree of privacy. I and I alone made the
             call that so long as she never appeared in front of me, that was sufficient."

             Jones said that he would have had a recusal obligation for cases involving
             Freeman's firm only if they had been married and had communal property. Judge
             Jones owns the home in Houston which he and Freeman reside in, and pays
             utilities and other expenses on the home.

             Adam Levitin, a professor at Georgetown University Law Center who focuses on
             bankruptcy and commercial law, said that if Judge Jones was in a romantic
             relationship with a lawyer from Jackson Walker, he shouldn't have heard any
             bankruptcy cases in which Jackson Walker represented the company.

             "It creates an appearance of impropriety and partiality," Levitin said. "A
             lawyer's conflicts are imputed to all other attorneys at the firm. She was a
             partner of the firm. It creates the possibility that a litigant feels that they lost not
             because of the merits of a case, but because of the relationships the judge has."

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